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UNITED STATES DISTRICT COURT                                              ☆   SOUTHERN DISTRICT OF TEXAS
                                                                                  HOUSTON DIVISION


Darius Dubashand Faraz Harsini                                       §
Plaintiffs,                                                          §
                                                                     §
versus                                                               §
                                                                     §
City of Houston, et al.                                              §
Defendants,                                                          §                Civil Action No. 4:23-cv-03356-H
                                                                     §
                                                                     §

                                                           Scheduling Order

1. Trial: Estimated time to try: 5 days.                                                          ☐ Bench           X Jury

2. New parties must be joined by:                                                                            January 31, 2024
         Furnish a copy of this scheduling order to new parties.


3. The plaintiff's experts will be named with a report furnished by:                                         September 6, 2024

4. The defendant's experts must be named with a report furnished by:                                         October 11, 2024

5. Discovery must be completed by:                                                                           October 31, 2024
         Counsel may agree to continue discovery beyond the deadline, but there will be no intervention by the Court.
         No continuance will be granted because of information acquired in post-deadline discovery.


6. Dispositive Motions will be filed by:                                                                     December 13, 2024
   Response due by:                                                                                          January 13, 2025

   Non-Dispositive Motions will be filed by:                                                                 ________________

*********************** The Court will provide these dates. ***********************

7. Joint pretrial order is due:                                                                              April 14, 2025
    The plaintiff is responsible for filing the pretrial order on time.


8. Final Pretrial Conference is set for 1:30 p.m. on:                                                        May 12, 2025
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9. Jury Selection is set for 9:00 a.m. on:*                            May 27, 2025




The case will remain on standby until tried.

                  Signed this the ________ day of June, 2024.


                                               ___________________________________
                                               Hon. Richard W. Bennett
                                               United States Magistrate Judge
